      Case 3:13-cv-01171-JLS-NLS Document 1 Filed 05/16/13 PageID.1 Page 1 of 8



     Todd M. Friedman (SBN 216752)
 1
     Nicholas J. Bontrager (SBN 252114)
 2   LAW OFFICES OF TODD M. FRIEDMAN, P.C.
     369 S. Doheny Dr., #415
 3   Beverly Hills, CA 90211
     Phone: 877-206-4741
 4
     Fax: 866-633-0228
 5   tfriedman@attorneysforconsumers.com
     nbontrager@attorneysforconsumers.com
 6
 7   L. Paul Mankin, IV (SBN 264038)
     Law Offices of L. Paul Mankin, IV
 8   8730 Wilshire Blvd, Suite 310
     Beverly Hills, CA 90211
 9   Phone: 800-219-3577
10   Fax: 866-633-0228
     pmankin@paulmankin.com
11
     Attorneys for Plaintiff
12
13                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF CALIFORNIA
14
     ALISHA LAWHORN, on behalf of herself       )   Case No.   '13CV1171 JLS NLS
15   and all others similarly situated,         )
16                                              )   CLASS ACTION
     Plaintiff,                                 )
17                                              )   COMPLAINT FOR VIOLATIONS OF:
             vs.                                )
18                                              )       1.     NEGLIGENT VIOLATIONS OF
     MEDICREDIT, INC., and DOES 1 through       )              THE TELEPHONE CONSUMER
19                                                             PROTECTION ACT [47 U.S.C.
     10, inclusive, and each of them,           )
                                                               §227 ET SEQ.]
20                                              )       2.     WILLFUL VIOLATIONS OF
     Defendants.                                )              THE TELEPHONE CONSUMER
21                                              )              PROTECTION ACT [47 U.S.C.
22                                              )              §227 ET SEQ.]
                                                )
23                                              )   DEMAND FOR JURY TRIAL
                                                )
24                                              )
25                                              )

26           Plaintiff, ALISHA LAWHORN (“Plaintiff”), on behalf of herself and all others

27   similarly situated, alleges the following upon information and belief based upon personal

28   knowledge:



                                     CLASS ACTION COMPLAINT
                                                -1-
      Case 3:13-cv-01171-JLS-NLS Document 1 Filed 05/16/13 PageID.2 Page 2 of 8




 1                                     NATURE OF THE CASE
 2          1.      Plaintiff brings this action for herself and others similarly situated seeking
 3   damages and any other available legal or equitable remedies resulting from the illegal actions
 4   of MEDICREDIT, INC., (“Defendant”), in negligently, knowingly, and/or willfully contacting
 5   Plaintiff on Plaintiff’s cellular telephone in violation of the Telephone Consumer Protection
 6   Act, 47. U.S.C. § 227 et seq. (“TCPA”), thereby invading Plaintiff’s privacy.
 7                                    JURISDICTION & VENUE
 8          2.      Jurisdiction is proper under 28 U.S.C. § 1332(d)(2) because Plaintiff, a resident
 9   of California, seeks relief on behalf of a Class, which will result in at least one class member
10   belonging to a different state than that of Defendant, a company with its principal place of
11   business and State of Incorporation in California state. Plaintiff also seeks up to $1,500.00 in
12   damages for each call in violation of the TCPA, which, when aggregated among a proposed
13   class in the thousands, exceeds the $5,000,000.00 threshold for federal court jurisdiction.
14   Therefore, both diversity jurisdiction and the damages threshold under the Class Action
15   Fairness Act of 2005 (“CAFA”) are present, and this Court has jurisdiction.
16          3.      Venue is proper in the United States District Court for the Southern District of
17   California pursuant to 18 U.S.C. 1391(b) and 18 U.S.C. § 1441(a) because Defendant does
18   business within the state of California and the county of Escondido.
19                                              PARTIES
20          4.      Plaintiff, ALISHA LAWHORN (“Plaintiff”), is a natural person residing in
21   California and is a “person” as defined by 47 U.S.C. § 153 (10).
22          5.      Defendant, MEDICREDIT, INC., (“Defendant”), is a leader in the consumer
23   debt recovery industry and is a “person” as defined by 47 U.S.C. § 153 (10).
24          6.      The above named Defendant, and its subsidiaries and agents, are collectively
25   referred to as “Defendants.” The true names and capacities of the Defendants sued herein as
26   DOE DEFENDANTS 1 through 10, inclusive, are currently unknown to Plaintiff, who
27   therefore sues such Defendants by fictitious names. Each of the Defendants designated herein
28   as a DOE is legally responsible for the unlawful acts alleged herein. Plaintiff will seek leave of



                                       CLASS ACTION COMPLAINT
                                                  -2-
      Case 3:13-cv-01171-JLS-NLS Document 1 Filed 05/16/13 PageID.3 Page 3 of 8




 1   Court to amend the Complaint to reflect the true names and capacities of the DOE Defendants
 2   when such identities become known.
 3          7.      Plaintiff is informed and believes that at all relevant times, each and every
 4   Defendant was acting as an agent and/or employee of each of the other Defendants and was
 5   acting within the course and scope of said agency and/or employment with the full knowledge
 6   and consent of each of the other Defendants. Plaintiff is informed and believes that each of the
 7   acts and/or omissions complained of herein was made known to, and ratified by, each of the
 8   other Defendants.
 9                                    FACTUAL ALLEGATIONS
10          8.      Beginning in or around November of 2012, Defendant contacted Plaintiff on
11   her cellular telephone at (661) 472-9439, in an attempt to collect an outstanding debt allegedly
12   owed by “Brandon Miles.”
13          9.       Defendant placed several collection calls a week, and at times upwards of three
14   (3) to four (4) calls in a single day, to Plaintiff’s cellular telephone seeking to collect an
15   outstanding debt allegedly owed by “Brandon Miles.”
16          10.     Defendant used an “automatic telephone dialing system”, as defined by 47
17   U.S.C. § 227(a) (1) to place its daily calls to Plaintiff seeking to collect the debt allegedly owed
18   by “Brandon Miles.”
19          11.     Defendant often left voicemail messages on Plaintiff’s cellular telephone if
20   Plaintiff did not answer Defendant’s calls. In these messages, Defendant utilized an “artificial
21   or prerecorded voice” as prohibited by 47 U.S.C. § 227(b) (1) (A).
22          12.     Defendant’s calls constituted calls that were not for emergency purposes as
23   defined by 47 U.S.C. § 227(b) (1) (A).
24          13.     Defendant’s calls were placed to telephone number assigned to a cellular
25   telephone service for which Plaintiff incurs a charge for incoming calls pursuant to 47 U.S.C. §
26   227(b)(1).
27          14.     On numerous occasions Defendant contacted Plaintiff from telephone number
28   (877) 395-3125.



                                       CLASS ACTION COMPLAINT
                                                  -3-
      Case 3:13-cv-01171-JLS-NLS Document 1 Filed 05/16/13 PageID.4 Page 4 of 8




 1          15.     On several occasions, Plaintiff answered Defendant’s telephone calls. The
 2   “automatic telephone dialing system” would ask for Plaintiff to confirm whether or not she was
 3   “Brandon Miles.” At this time, Plaintiff would select the option to confirm that she was not
 4   “Brandon Miles” when the “automatic telephone dialing system” prompted her to do so.
 5   However, Defendant continued to place several calls to Plaintiff a week, and upwards of three
 6   (3) to four (4) collection calls in a single day, to Plaintiff’s cellular phone via Defendant’s
 7   “automatic telephone dialing system” utilizing an “artificial or prerecorded voice” in an attempt
 8   to collect an outstanding debt allegedly owed by “Brandon Miles.”
 9          16.     On at least one occasion, Plaintiff spoke with an agent of Defendant and
10   informed them that she was not “Brandon Miles”, did not know “Brandon Miles”, and to stop
11   contacting her because they had the wrong phone number.
12          17.     Defendant never received Plaintiff’s “prior express consent” to receive calls
13   using an automatic telephone dialing system or an artificial or prerecorded voice on her cellular
14   telephone pursuant to 47 U.S.C. § 227(b)(1)(A).
15                                      CLASS ALLEGATIONS
16          18.     Plaintiff brings this action on behalf of herself and all others similarly situated,
17   as a member of the proposed class (hereafter “The Class”) defined as follows:
18
                    All persons within the United States who received any collection
19                  telephone calls from Defendant to said person’s cellular
                    telephone made through the use of any automatic telephone
20                  dialing system or an artificial or prerecorded voice and such
                    person had not previously consented to receiving such calls
21
                    within the four years prior to the filing of this Complaint
22
23          19.     Plaintiff represents, and is a member of, The Class, consisting of All persons

24   within the United States who received any collection telephone call from Defendant to said

25   person’s cellular telephone made through the use of any automatic telephone dialing system or

26   an artificial or prerecorded voice and such person had not previously not provided their cellular

27   telephone number to Defendant within the four years prior to the filing of this Complaint.

28          20.     Defendant, its employees and agents are excluded from The Class. Plaintiff



                                       CLASS ACTION COMPLAINT
                                                  -4-
      Case 3:13-cv-01171-JLS-NLS Document 1 Filed 05/16/13 PageID.5 Page 5 of 8




 1   does not know the number of members in The Class, but believes the Class members number in
 2   the thousands, if not more. Thus, this matter should be certified as a Class Action to assist in
 3   the expeditious litigation of the matter.
 4          21.     The Class is so numerous that the individual joinder of all of its members is
 5   impractical. While the exact number and identities of The Class members are unknown to
 6   Plaintiff at this time and can only be ascertained through appropriate discovery, Plaintiff is
 7   informed and believes and thereon alleges that The Class includes thousands of members.
 8   Plaintiff alleges that The Class members may be ascertained by the records maintained by
 9   Defendant.
10          22.     Plaintiff and members of The Class were harmed by the acts of Defendant in at
11   least the following ways: Defendant illegally contacted Plaintiff and Class members via their
12   cellular telephones thereby causing Plaintiff and Class members to incur certain charges or
13   reduced telephone time for which Plaintiff and Class members had previously paid by having to
14   retrieve or administer messages left by Defendant during those illegal calls, and invading the
15   privacy of said Plaintiff and Class members.
16          23.     Common questions of fact and law exist as to all members of The Class which
17   predominate over any questions affecting only individual members of The Class.            These
18   common legal and factual questions, which do not vary between Class members, and which
19   may be determined without reference to the individual circumstances of any Class members,
20   include, but are not limited to, the following:
21                  a.      Whether, within the four years prior to the filing of this Complaint,
22                          Defendant made any collection call (other than a call made for
23                          emergency purposes or made with the prior express consent of the called
24                          party) to a Class member using any automatic telephone dialing system
25                          or an artificial or prerecorded voice to any telephone number assigned to
26                          a cellular telephone service;
27                  b.      Whether Plaintiff and the Class members were damages thereby, and the
28                          extent of damages for such violation; and



                                        CLASS ACTION COMPLAINT
                                                   -5-
       Case 3:13-cv-01171-JLS-NLS Document 1 Filed 05/16/13 PageID.6 Page 6 of 8




 1                  c.      Whether Defendant should be enjoined from engaging in such conduct in
 2                          the future.
 3          24.     As a person that received numerous collection calls from Defendant using an
 4   automatic telephone dialing system or an artificial or prerecorded voice, without Plaintiff’s
 5   prior express consent, Plaintiff is asserting claims that are typical of The Class.
 6          25.     Plaintiff will fairly and adequately protect the interests of the members of The
 7   Class. Plaintiff has retained attorneys experienced in the prosecution of class actions.
 8          26.     A class action is superior to other available methods of fair and efficient
 9   adjudication of the controversy, since individual litigation of the claims of all Class members is
10   impracticable. Even if every Class member could afford individual litigation, the court system
11   could not. It would be unduly burdensome to the courts in which individual litigation of
12   numerous issues would proceed. Individualized litigation would also present the potential for
13   varying, inconsistent, or contradictory judgments and would magnify the delay and expense to
14   all parties and to the court system resulting from multiple trials of the same complex factual
15   issues. By contrast, the conduct of this action as a class action presents fewer management
16   difficulties, conserves the resources of the parties and of the court system, and protects the
17   rights of each Class member.
18          27.     The prosecution of separate actions by individual Class members would create a
19   risk of adjudications with respect to them that would, as a practical matter, be dispositive of the
20   interests of the this Class members not parties to such adjudications or that would substantially
21   impair or impede the ability of such non-party Class members to protect their interests.
22          28.     Defendant has acted or refused to act in respects generally applicable to The
23   Class, thereby making appropriate final and injunctive relief with regard to the members of the
24   California Class as a whole.
25   ///
26   ///
27   ///
28   ///



                                          CLASS ACTION COMPLAINT
                                                     -6-
      Case 3:13-cv-01171-JLS-NLS Document 1 Filed 05/16/13 PageID.7 Page 7 of 8




 1                                    FIRST CAUSE OF ACTION
 2                   Negligent Violations of the Telephone Consumer Protection Act
 3                                        47 U.S.C. §227 et seq.
 4          29.       Plaintiff repeats and incorporates by reference into this cause of action the
 5   allegations set forth above at Paragraphs 1-33.
 6          30.       The foregoing acts and omissions of Defendant constitute numerous and
 7   multiple negligent violations of the TCPA, including but not limited to each and every one of
 8   the above cited provisions of 47 U.S.C. § 227 et seq.
 9          31.       As a result of Defendant’s negligent violations of 47 U.S.C. § 227 et seq.,
10   Plaintiff and the Class Members are entitled an award of $500.00 in statutory damages, for
11   each and every violation, pursuant to 47 U.S.C. § 227(b)(3)(B).
12          32.       Plaintiff and the Class members are also entitled to and seek injunctive relief
13   prohibiting such conduct in the future.
14                                   SECOND CAUSE OF ACTION
15         Knowing and/or Willful Violations of the Telephone Consumer Protection Act
16                                        47 U.S.C. §227 et seq.
17                                       (Against All Defendants)
18          33.       Plaintiff repeats and incorporates by reference into this cause of action the
19   allegations set forth above at Paragraphs 1-37.
20          34.       The foregoing acts and omissions of Defendant constitute numerous and
21   multiple knowing and/or willful violations of the TCPA, including but not limited to each and
22   every one of the above cited provisions of 47 U.S.C. § 227 et seq.
23          35.       As a result of Defendant’s knowing and/or willful violations of 47 U.S.C. § 227
24   et seq., Plaintiff and the Class members are entitled an award of $1,500.00 in statutory
25   damages, for each and every violation, pursuant to 47 U.S.C. § 227(b)(3)(B) and 47 U.S.C. §
26   227(b)(3)(C).
27          36.       Plaintiff and the Class members are also entitled to and seek injunctive relief
28   prohibiting such conduct in the future.



                                        CLASS ACTION COMPLAINT
                                                   -7-
     Case 3:13-cv-01171-JLS-NLS Document 1 Filed 05/16/13 PageID.8 Page 8 of 8




 1                                  PRAYER FOR RELIEF
 2       WHEREFORE, Plaintiff requests judgment against Defendant for the following:
 3                               FIRST CAUSE OF ACTION
 4            Negligent Violations of the Telephone Consumer Protection Act
 5                                   47 U.S.C. §227 et seq.
 6            x As a result of Defendant’s negligent violations of 47 U.S.C. § 227(b)(1),
 7              Plaintiff and the Class members are entitled to and request $500 in statutory
 8              damages, for each and every violation, pursuant to 47 U.S.C. § 227(b)(3)(B).
 9            x Any and all other relief that the Court deems just and proper.
10                             SECOND CAUSE OF ACTION
11      Knowing and/or Willful Violations of the Telephone Consumer Protection Act
12                                   47 U.S.C. §227 et seq.
13            x As a result of Defendant’s willful and/or knowing violations of 47 U.S.C. §
14              227(b)(1), Plaintiff and the Class members are entitled to and request treble
15              damages, as provided by statute, up to $1,500, for each and every violation,
16              pursuant to 47 U.S.C. § 227(b)(3)(B) and 47 U.S.C. § 227(b)(3)(C).
17            x Any and all other relief that the Court deems just and proper.
18
19       Respectfully Submitted this 2nd Day of May, 2013.
20
21                                    LAW OFFICES OF TODD M. FRIEDMAN, P.C.
22
                                       By:    s/Todd M. Friedman
23
                                              Todd M. Friedman, Esq.
24                                            Law Offices of Todd M. Friedman
                                              Attorneys for Plaintiff
25                                            tfriedman@attorneysforconsumers.com
26
27
28



                                  CLASS ACTION COMPLAINT
                                             -8-
